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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  4PVUIFSO
 ____________________              /FX:PSL
                      District of _________________
                                       (State)

                                                            
 Case number (If known): _________________________ Chapter _____                                                                             Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                           3FUSJFWBM.BTUFST$SFEJUPST#VSFBV *OD
                                           _____________________________________________________________________________________________________




2.   All other names debtor used                 "NFSJDBO.FEJDBM$PMMFDUJPO"HFODZ
                                           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer               
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                   Mailing address, if different from principal place
                                                                                                         of business

                                             8FTUDIFTUFS1MB[B
                                           ______________________________________________                _______________________________________________
                                           Number     Street                                             Number     Street

                                                 4VJUF
                                           ______________________________________________                10#PY
                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                             &MNTGPSE                      /:
                                           ______________________________________________                &MNTGPSE/:
                                                                                                         _______________________________________________
                                           City                        State    ZIP Code                 City                      State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                             64"
                                           ______________________________________________
                                           County                                                        _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




5.   Debtor’s website (URL)                 XXXSFUSJFWBMNBTUFSTDPN
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        9     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                 Partnership (excluding LLP)
                                                 Other. Specify: __________________________________________________________________



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Debtor            3FUSJFWBM.BTUFST$SFEJUPST#VSFBV *OD
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



                                            A. Check one:
7.    Describe debtor’s business
                                                Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                Railroad (as defined in 11 U.S.C. § 101(44))
                                                Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            9 None of the above

                                            B. Check all that apply:

                                                Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                                Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 
                                                ___  ___ ___ ___

8.    Under which chapter of the            Check one:
      Bankruptcy Code is the
      debtor filing?                            Chapter 7
                                                Chapter 9
                                            9   Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                                Chapter 12

9.    Were prior bankruptcy cases           9 No
      filed by or against the debtor
      within the last 8 years?                  Yes. District _______________________ When _______________ Case number _________________________
                                                                                                 MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases              9 No
      pending or being filed by a
      business partner or an                    Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________


     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor         3FUSJFWBM.BTUFST$SFEJUPST#VSFBV *OD
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       9    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have      9 No
      possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                      Other _______________________________________________________________________________



                                                 Where is the property?_____________________________________________________________________
                                                                              Number        Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________       _______      ________________
                                                                              City                                          State        ZIP Code


                                                 Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                           Contact name       ____________________________________________________________________

                                                           Phone              ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  9    Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                            1-49                              1,000-5,000                               25,001-50,000
14.   Estimated number of                   50-99                             5,001-10,000                              50,001-100,000
      creditors
                                       9    100-199                           10,001-25,000                             More than 100,000
                                            200-999

                                            $0-$50,000                    9   $1,000,001-$10 million                    $500,000,001-$1 billion
15.   Estimated assets                      $50,001-$100,000                  $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                 $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million               $100,000,001-$500 million                 More than $50 billion




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor         3FUSJFWBM.BTUFST$SFEJUPST#VSFBV *OD                                              Case number (if
               Nama



                                        0     $0-$50, 000                         lXI $1,000,001-$10 million                   0   $500,000,001-$1 billion
1e. Estimated liabilities               0     $50,001-$100,000                    0   $10,000,001-$50 million                  0   $1,000,000,001-$10 billion
                                        0     $100,001-$500,000                   0   $50,000,001-$100 million                 0   $10,000,000,001-$50 billion
                                        0     $500,001-$1 million                 0   $100,000,001-$500 million                D   More than $50 billion




            Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


11.   Declaration and signature of      m The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                        !ll    I have been authorized to file this petition on behalf of the debtor.


                                        111    I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct




                                                                                                                 Russell Fuchs
                                                                                                                Printed name


                                              Title   CEO
                                                      President, Secretary and Treasurer




1a Signature of attorney                       /s/ Steven Wilamowsky                                            Date        6/17/2019
                                               Signature of attorney for debtor                                            MM      !DD /YYYY



                                              Steven Wilamowsky
                                              Printed name

                                               CHAPMAN AND CUTLER LLP
                                              Firm name

                                               1270          Avenue of the Americas
                                              Number          Street
                                               New York                                                            NY              10020
                                              City

                                              212.655.6000                                                             wilamowsky@chapman.com
                                              Contact phone                                                        Email address



                                                                                                                    /:
                                              Bar number                                                           State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page4
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                              UNANIMOUS WRITTEN CONSENT
                                                 OF
                                    BOARD OF DIRECTORS
                                                 OF
                   RETRIEVAL-MASTERS CREDITORS BUREAU, INC.
                                          JUNE 17, 2019


         The undersigned, being all of the members of the Board of Directors of Retrieval-Masters
 Creditors Bureau, Inc., a New York corporation (the "Company"), acting by written consent
 without a meeting, do hereby consent to the adoption of the following resolutions as of the date
 hereof with the same force and effect as if such resolutions were approved and adopted at a duly
 constituted meeting of the Board of Directors.
        WHEREAS, the Company has determined that it is desirable and in the best interests of
 the Company and its creditors, employees, and other interested parties that a petition be filed by
 the Company, seeking relief under the provisions of Chapter 11 of Title 11 of the United States
 Code (the "Bankruptcy Code").
 Chapter 11 case

         NOW, THEREFORE, BE IT RESOLVED, that the Company be, and hereby is,
 authorized and empowered to file a voluntary petition for relief under Chapter 11 of the
 Bankruptcy Code (such voluntary petition, the "Chapter 11 Case") in a court of proper
 jurisdiction (the "Bankruptcy Court"); and
         RESOLVED FURTHER, that Russell Fuchs, Jeffrey Wollman and Bradley Scher
 (each, an "Authorized Officer" and collectively, the "Authorized Officers") be, and each of
 them individually hereby is, authorized, in the name and on behalf of the Company, appointed as
 the Company's authorized representatives, and in such capacity, acting alone or together, with
 power of delegation, be, and hereby are, authorized and empowered to execute and file on behalf
 of the Company, all petitions, schedules, lists, applications, pleadings and other motions, papers,
 agreements, consents or documents, and to take any and all action that they deem necessary or
 proper to obtain such relief, including, without limitation, any action necessary to maintain the
 ordinary course operation of the Company's businesses.
 Retention of Professionals

         RESOLVED FURTHER, that each Authorized Officer be, and they hereby are,
 authorized and directed to employ the law firm of Chapman and Cutler LLP as general
 bankruptcy counsel to represent and assist the Company in carrying out its duties under the
 Bankruptcy Code, and to take any and all actions to advance the Company's rights and
 obligations, including filing any pleadings; and in connection therewith, each of the Authorized
 Officers, with power of delegation, are hereby authorized and directed to execute appropriate
 retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
 application for authority to retain the services of Chapman and Cutler LLP.
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         RESOLVED FURTHER that each Authorized Officer be, and they hereby are,
 authorized and directed to employ any other professionals, including Morvillo Abramowitz
 Grand Iason & Anello P.C., as regulatory counsel to the Company, to assist the Company in
 carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
 the Company's rights and obligations; and in connection therewith, each of the Authorized
 Officers, with power of delegation, are hereby authorized and directed to execute appropriate
 retention agreements, pay appropriate retainers, and to cause to be filed appropriate applications
 for authority to retain the services of any other professionals as necessary.

         RESOLVED FURTHER that each Authorized Officer be, and they hereby are, with
 power of delegation, authorized, empowered and directed to execute and file all petitions,
 schedules, motions, lists, applications, pleadings, and other papers and, in connection therewith,
 to employ and retain all assistance by legal counsel, accountants, financial advisors, and other
 professionals and to take and perform any and all further acts and deeds that each of the
 Authorized Officers deem necessary, proper or desirable in connection with the Chapter 11 Case,
 with a view to the successful prosecution of such case.
 General

         RESOLVED FURTHER, that in addition to the specific authorizations heretofore
 conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
 delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of
 the Company, to take or cause to be taken any and all such other and further action, and to
 execute, acknowledge, deliver and file any and all such agreements, certificates, instruments and
 other documents and to pay all expenses, including but not limited to filing fees, in each case as
 in such officer's or officers' judgment, shall be necessary, advisable or desirable in order to fully
 carry out the intent and accomplish the purposes of the resolutions adopted herein.
        RESOLVED FURTHER, that all members of the Board of Directors of the Company
 have received sufficient notice of the actions and transactions relating to the matters by the
 foregoing resolutions, as may be required by the organizational documents of the Company, or
 hereby waive any right to have received such notice.
         RESOLVED FURTHER, that all acts, actions and transactions relating to the matters
 contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
 which acts would have been approved by the foregoing resolutions except that such acts were
 taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
 the true acts and deeds of the Company with the same force and effect as if each such act,
 transaction, agreement or certificate has been specifically authorized in advance by resolution by
 the Board of Directors.
        RESOLVED FURTHER, that these resolutions may be executed and delivered in
 multiple counterparts and via electronic means, all of which taken together shall constitute one
 and the same instrument.
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         IN WITNESS WHEREOF, the undersigned Directors have duly executed this
   Unanimous Written Consent as of the date first written above.




                                             Bradley Scher
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        IN WTTNESS WHEREOF, the undersigned Directors have duly executed this
  Unanimous Written Consent as of the date first written above.




                                             Russell Fuchs
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      Fill in this information to identify the case:

                     3FUSJFWBM.BTUFST$SFEJUPST#VSFBV *OD
      Debtor name __________________________________________________________________

                                       4PVUIFSO                                    /FX:PSL
      United States Bankruptcy Court for the: ______________________ District of _________
                                                                                   (State)
                                                                                                                                                    Check if this is an
      Case number (If known):      _________________________
                                                                                                                                                    amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete                  Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code            email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                    contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated,   total claim amount and deduction for value of
                                                                                  services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff

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    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 1
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    Debtor         3FUSJFWBM.BTUFST$SFEJUPST#VSFBV *OD
                  _______________________________________________________                             Case number (if known)_____________________________________
                  Name




     Name of creditor and complete          Name, telephone number, and         Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor           (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                                professional           unliquidated,   total claim amount and deduction for value of
                                                                                services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                       Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff

9    $MFBSCSPPL+7--$
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13     $5$PSQPSBUJPO
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14     $POTPMJEBUFE&EJTPO *OD
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16     "QFY5FDIOPMPHZ4FSWJDFT            -BSSZ4[FCFOJ
       $POOFDUJDVU"WFOVF              
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       /PSXBML $5
17      -FYJT/FYJT3JTL4PMVUJPOT           "OESFX3PUINBO
        "MEFSNBO%SJWF                 "OESFX3PUINBO!MFYJTOFYJTSJTLDPN
                                                                                 5SBEFEFCUT                                                                    
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       4FTTJPOT'JSN --$
18                                            4VOOZ4IFQQBSE
       /$BVTFXBZ#MWE                                                      1SPGFTTJPOBM
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    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                         page 2
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 CHAPMAN AND CUTLER LLP
 Steven Wilamowsky
 1270 Avenue of the Americas
 New York, NY 10020-1708
 Telephone: 212.655.6000

 -and-

 Aaron M. Krieger, S.D.N.Y. admission pending
 111 West Monroe Street
 Chicago, IL 60603-4080
 Telephone: 312.845.3000

 Proposed Counsel for the Debtor and
 Debtor in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------x
 In re                                                     :   Chapter 11
                                                           :
 Retrieval-Masters Creditors Bureau, Inc.,1                :   Case No. 19-____________ (             )
                                                           :
                            Debtor.                        :
 ----------------------------------------------------------x


                              CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure

 and Rule 1007-3 of the Local Bankruptcy Rules for the Southern District of New York,

 Retrieval-Masters Creditors Bureau, Inc. (the “Debtor”), as debtor and debtor in possession in

 the above-captioned chapter 11 case, respectfully represents that as of the Petition Date:

              1. The Debtor is not a publicly traded company.

              2. Russell Fuchs owns 100% of the equity interests in the Debtor.

              3. The Debtor holds no direct or indirect equity interests in any other entity.

 1
                 The last four digits of the Debtor’s taxpayer identification number are 9495. The location of the
         Debtor’s service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford,
         NY 10523. The Debtor also does business as American Medical Collection Agency.
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  Fill in this information to identify the case and this filing:


  Debtor Name    Retrieval-Masters Creditors Bureau, Inc
  United States Bankruptcy Court for the:   Southern                 District of New y     ork
                                                                                (State)
  Case number (ff known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



               Dedaration and signature



         I am the president, another officer, or an authorized agent of the ccrporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

         l have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct


         D      Schedule A/B: Assets-Real and Personal Prop9rty (Official Form 206A/B)

         0      Schedule D: Creditors Who Have Claims Secured by Property {Official Form 2060)

         D      Schedule EIF: Creditors Who Have Unsecured Claims (Official Fo1TI1 206E/F}

         D      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         D      Schedule H: Codebtors {Official Form 206H)

         D      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         D      Amended Schedule


         1X1    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and A~ Not lnSiders (Official Form 204)


         !XI other document that requires a declaration.~C=o=r~p~o=r=a=te~O~w=n=e=rs=h=i,,p~S=t=a=t=e=m=e=n=t~--------------


         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on




                                                                 Russell Fuchs
                                                                 Printed name


                                                                 Presjdent. Secretary and Treasurer
                                                                 Posltlon or relationship to deDtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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CHAPMAN AND CUTLER LLP
Steven Wilamowsky
1270 Avenue of the Americas
New York, NY 10020-1708
Telephone: 212.655.6000

-and-

Aaron M. Krieger, S.D.N.Y. admission pending
111 West Monroe Street
Chicago, IL 60603-4080
Telephone: 312.845.3000

Proposed Counsel for the Debtor and
Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
                                                  1
Retrieval-Masters Creditors Bureau, Inc.,                 :   Case No. 19-____________ (             )
                                                          :
                           Debtor.                        :
----------------------------------------------------------x


                    NOTICE OF FILING OF (I) LIST OF CREDITORS AND
                        (II) LIST OF EQUITY SECURITY HOLDERS

        PLEASE TAKE NOTICE that, pursuant to Rules 1007(a)(1) and (3) of the Federal

Rules of Bankruptcy Procedure and Rule 1007-1 of the Local Rules of Bankruptcy Procedure for

the Southern District of New York, Retrieval-Masters Creditors Bureau, Inc. (the “Debtor”), as

debtor and debtor in possession in the above-captioned chapter 11 case, hereby files (i) a list of

the Debtor’s creditors, annexed hereto as Exhibit A, and (ii) a list of the Debtor’s equity holders,

attached hereto as Exhibit B.


1
                The last four digits of the Debtor’s taxpayer identification number are 9495. The location of the
        Debtor’s service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford,
        NY 10523. The Debtor also does business as American Medical Collection Agency.
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Dated: June 17, 2019
       New York, New York

                                 CHAPMAN AND CUTLER LLP
                                 Proposed Counsel for the Debtor and
                                 Debtor in Possession


                                 By:      /s/ Steven Wilamowsky
                                        Steven Wilamowsky
                                        1270 Avenue of the Americas
                                        New York, NY 10020-1708
                                        Telephone: 212.655.6000

                                        -and-

                                        Aaron M. Krieger, S.D.N.Y. admission pending
                                        111 West Monroe Street
                                        Chicago, IL 60603-4080
                                        Telephone: 312.845.3000
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                                        Exhibit A

                                  List of Creditors
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                                                Retrieval-Masters Creditors Bureau, Inc.
                                                           List of Creditors

     Name                  Address 1               Address 2         Address 3            City         State   Postal Code   Country (if
                                                                                                                              not US)
ACA
International     PO Box 390106                                                      Minneapolis      MN       55439
                                                                Tina Wolfson, Brad
Ahdoot &                                                        King, Theodore
Wolfson PC      45 Main Street                 Suite 528        Maya                 Brooklyn         NY       11201
Allied
Administrators-                                                                                                94145-
Delta Dental    PO Box 45381                                                         San Francisco    CA       0381
                                                                Kimberly Peretti,
                                                                Kate Hanniford,
                                                                Emily Poole, Amy
Alston & Bird     950 F Street NW                               Mushahwar            Washington       DC       20004
Altice Business   PO Box 360111                                                      Pittsburg        PA       15251
American
Express           PO Box 981535                                                      El Paso          TX       79998
Andrew                                                                               Huntingdon
Berkowitz         725 Lisa Circle                                                    Valley           PA       19006
Apex
Technology
Services          535 Connecticut Avenue       Suite 104                             Norwalk          CT       06854
                                                                Jon Lambiras,
Berger                                                          Shanon Carson,
Montague, PC      1818 Market Street           Suite 3600       Sherrie Savett       Philadelphia     PA       19103
Bisnar Chase                                                    Brian D Chase,       Newport
LLP               1301 Dove Street             Suite 120        Jerusalem Beligan    Beach            CA       92626
Business Card
Services ( Jet
Blue
Mastercard)       PO Box 23066                                                       Columbus         GA       31902
                                                                                                               45274-
Cablevision       PO Box 742698                                                      Cincinnati       OH       2698
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                                            Retrieval-Masters Creditors Bureau, Inc.
                                                       List of Creditors
Carella Byrne
Cecchi Olstein
Brody &                                                     James Cecchi,
Agnello, PC      5 Becker Farm Road                         Caroline Bartlett    Roseland        NJ     07068
Cary Law
Office           122 Capitol St            Suite 200        Michael Cary         Charlston       WV     25301
Charles River
Associates       200 Clarendon Street                                            Boston          MA     02116
Clearbrook JV
LLC              100 Clearbrook Rd         2nd Floor                             Elmsford        NY     10523
Cohn, Lifland,
Pearlman,
Herrmann &
Knoff, LLP       250 Pehle Avenue          Suite 401        Peter Pearlman       Saddlebrook     NJ     07663
Conduent         375 McCarter Highway                       David Kenney         Newark          NJ     07114
Consolidated                                                                                            10116-
Edison, Inc.     PO Box 1702                                                     New York        NY     1702
Creditron
Corporation      15800 Crabbs Branch Way   Suite 210                             Rockville       MD     20855
Criden & Love
P.A.             7301 SW 57th Court        Suite 515        Michael E. Criden    South Miami     FL     33143
CSI
International,
Inc.             PO Box 417                                                      Williamsport    OH     43164
CT                                                                                                      60197-
Corporation      PO Box 4349                                                     Carol Stream    IL     4349
Cup-A-Jo
Coffee
Solutions        382 Route 59 Suite 324                                          Monsey          NY     10952
Dicello Levitt   Ten North Dearborn                         Adam Levitt, Amy
Gutzler LLC      Street                    Eleventh Floor   Keller               Chicago         IL     60602
End Point
Corporation      304 Park Avenue South     Suite 214                             New York        NY     10010
Epiq Corporate   10300 SW Allen Blvd                        Managing Director,   Beaverton       OR     97005
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                                                Retrieval-Masters Creditors Bureau, Inc.
                                                           List of Creditors
Services, Inc                                                    Legal Department
                                                                 Robert Esensten,
Esensten Law      12100 Wilshire Blvd          Suite 1660        Jordan Esensten        Los Angeles      CA      90025
ExpertSource                                   Deekay Tech
Global Services                                Park, TTC                                Navi Mumbai,
Private Limited   Unit 102, 1st Floor          Industrial Area   Midc, Turbhe           Maharashtra                       India
                                                                                                                 15250-
FedEx             PO Box 371461                                                         Pittsburgh       PA      7461
Finkelstein
Blankinship,
Frei-Pearson &                                                   Jeremiah Lee Frei-
Garber, LLP       445 Hamilton Avenue          Suite 605         Pearson                White Plains     NY      10601
Geist Schwarz
& Jellinek,       One North Lexington
PLLC              Avenue                       11th floor                               White Plains     ny      10601
                                                                 Troy Giatras,
                                                                 Matthew
Giatras Law                                                      Stonestreet, Phillip                    West
Firm              118 Capitol Street           Suite 400         Childs                 Charlston        Virginia 25301
Gibbs Law                                                        Eric Gibbs, David
Group LLP         501 14th Street              Suite 1110        Berger                 Oakland          CA      94612
Golden Scaz       201 North Armenia
Gagain            Avenue                                         Charles McHale         Tampa            FL      33609
Greenwich
Legal
Associiates
LLC               881 Lake Avenue                                Adam Frankel           Greenwich        CT      06831
Hinshaw &
Culbertson,
LLP               151 N. Franklin Street       Suite 2500                               Chicago          IL      60606
Hogan &                                                          Marcy Wilder,
Lovells US LLP    555 Thirteenth St NW                           Allison Holt           Washington       DC      20004
Hudson Valley
Fire Inc.         136 Washington Street                                                 Peekskill        NY      10566
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                                             Retrieval-Masters Creditors Bureau, Inc.
                                                        List of Creditors
               2221 Camino Del Rio
Hyde & Swigert South                        Suite 101        Joshua Swigert       San Diego        CA     92101
International
Business                                                                                                  15264-
Machines Corp. PO Box 643600                                                      Pittsburgh       PA     3600
               1991 Lomgwood Lake
Jackson Lee PA Nary Rd                                       Jared Michael Lee    Lomgwood         FL     32750
Javerbaum
Wurgaft Hicks
Kahn
Wikstrom and   1000 Haddonfield-Berlin
Sinins PC      Road                         Suite 203        Michael Galpern      Vorhees          NJ     08043
Jones Wolf &
Kapasi LLC     375 Passaic Ave              Suite 100        Joseph Jones         Fairfield        NJ     07004
JP McHale Pest
Management,
Inc.           PO Box 98                                                          Montrose         NY     10548
Kaplan Fox &                                                 Laurence King,
Kilsheimer LLP 350 Sansome Street           Suite 400        Mario Choi           San Francisco    CA     94104
                                                             Frederic Fox, Joel
Kaplan Fox &                                                 Strauss, David
Kilsheimer LLP   850 Third Avenue           14th Floor       Straite              New York         NY     10022
Kazerouni Law                                                Seyed Abbas
Group, APC       245 Fischer Avenue         Suite D1         Kazerounian          Costa Mesa       CA     92626
Kehoe Law
Firm PC          41 Madison Avenue          31st Floor       John Kehoe           New York         NY     10010
Kelly Law
Offices LLC      3000 Atrium Way            Suite 291        Thomas Kelly III     Mount Laurel     NJ     08054
Konica Minolta
Premier
Finance          PO Box 3072                                                      Cedar Rapids     IA     52406
Law Offices of
Todd Friedman                                                                     Woodland
PC               21550 Oxnard Street        Suite 780        Todd Friedman        Hills            CA     91367
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                                                  Retrieval-Masters Creditors Bureau, Inc.
                                                             List of Creditors
Law Officews
of Ron
Bochner             3905 State St                                 Ron Bochner          Santa Barbara   CA    93105
Lemberg Law
LLC                 43 Danbury Road              3rd Floor        Sergei Lemberg       Wilton          CT    06897
Levin,
Papantonio,
Thomas,                                                           Matt Schultz, Bill
Mitchell,rafferty                                                 Cash, Brenton
& Proctor, PA       316 S Baylen St              Suite 600        Goodman              Pensacola       FL    32502
LexisNexis Risk
Solutions           1000 Alderman Drive                                                Alpharette      GA    30005
Liberty Mutual                                                                                               10116-
Insurance           PO Box 2839                                                        New York        NY    2839
Lieff Cabraser
Heimann &                                                         Jason Lichtman,
Bernstein LLP       250 Hudson Street            8th Floor        Sean Petterson       New York        NY    10013
Lieff Cabraser
Heimann &
Bernstein LLP       275 Battery Street           29th Floor       Michael Sobol        San Francisco   CA    94111
Linda S. Allen      4713 Caspian Ave.                                                  Farmington      NM    87402
Lite Depaqlma
Greenberg LLC       570 Broad Street             Suite 1201       Bruce Greenberg      Newark          NJ    07102
Locks Law
Firm LLC            801 N. Kings Highway                          James A. Barry       Cherry Hill     NJ    08034
Mack-Cali CW
Realty
Associates LLC      PO Box 416382                                                      Boston          MA    02241
Messer
Strickler, Ltd.     225 W. Washington St.        SUITE 575                             Chicago         IL    60606
Michael P.
McIlree,
Attorney at
Law                 100 Brown Avenue             Suite 2                               Chesterson      IN    46304
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                                              Retrieval-Masters Creditors Bureau, Inc.
                                                         List of Creditors
Morgan &
Morgan
Complex                                                       John
Litigation                                                    Yanchunis,Patrick
Group            201 N. Franklin Street      7th Floor        Barthle               Tampa            FL     33602
Nussbaum Law     1211 Avenue of the                           Linda Nussbaum,
Group PC         Americas                    40th Floor       Bart Cohen            New York         NY     10036
O'Connell &
Aronowitz        54 State Street                              Kurt Bratten          Albany           NY     12207
Online Data
Exchange LLC     12276 San Jose Blvd         Suite 427                              Jacksonville     FL     32223
Oxford Health                                                                                               07101-
Plans            PO BOX 1697                                                        Newark           NJ     1697
Paylocity
Corporation      Dept #2007                  Po Box 87844                           Carol Stream     IL     60188
PCI Group,                                                                                                  28134-
Inc.             PO Box 566                                                         Pineville        NC     0566
Pitney Bowes
Global
Financial
Services LLC     PO Box 3718877                                                     Pittsburgh       PA     15250
Pontello &
Bressler         406 Boones Lick Rd                           Dominic Pontello      St Charles       MO     63301
Prescott         No address available: see
Lovern Sr        below:
Proshred
Security         5 W. Main Street            Suite 200                              Elmsford         NY     10523
Protection One
Alarm
Monitoring,                                                                                                 64121-
Inc.             PO BOX 219044                                                      Kansas City      MO     9044
Robbins Geller
Rudman &         120 East Palmetto Park                       Paul Geller, Stuart
Dowd LLP         Road                        Suite 500        A. Davisdon           Boca Raton       FL     33432
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                                                Retrieval-Masters Creditors Bureau, Inc.
                                                           List of Creditors
Robbins Geller
Rudman &                                                        Samuel H. Rudman,
Dowd LLP          58 S. Service Road           Suite 200        Mark S. Reich         Melville          NY     11747
Robert L. Clark   131 Overlook Ter                                                    Lander            WY     82520
Robinson                                                                              Newport
Calcagnie Inc     19 Corporate Plaza Drive                      Daniel Robinson       Beach             CA     ;92660
                  2099 Pennsylvania Ave,                        Edward
Ropes & Gray      NW                                            McNicholas            Washington        DC     20006
Russell Fuchs     975 Banks North Road                                                Fairfield         CT     06824
                                                                Joseph Sauder,
Sauder                                                          Matthew Schelkopf,
Schelkopf LLC     555 Lancaster Avenue                          Joseph Kenney         Berwynn           PA     19312
Seeger Weiss                                                    Christopher Seeger,   Ridgefiled
LLP               55 Challenger Road           6th Floor        Parvin Aminolroaya    Park              NJ     07660
Seeger Weiss
LLP               77 Water Street              8th Floor        Jennifer Scullion     New York          NY     10005
Sentient
Solutions         Guinness Enterprise
Limited           Centre                       Taylor's lane                          Dublin 8                          Ireland
Service
Express, Inc      Dept 6306                    PO Box 30516                           Lansing           MI     48909
Sessions Firm,
LLC               3850 N. Causeway Blvd        Suite 200                              Metairie          LA     70002
Sheehan &
Associates, PC    505 Northern Blvd            Suite 311        Spencer Sheehan       Great Neck        NY     11201
                                                                David Hoffman,
                                                                Kate Heinzelman,
Sidley Austin     1501 K Street NW                              Clayton Northouse     Washington        DC     20005
Staples
Business                                                                                                       30348-
Advantage         PO Box 105638                                                       Atlanta           GA     5638
Suburban                                                                              Briarcliff
Carting Co.       566 North State Rd                                                  Manor             NY     10510
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                                              Retrieval-Masters Creditors Bureau, Inc.
                                                         List of Creditors
The Answer                                                                                               10163-
Company           PO Box 3442                                                    New York         NY     3442
The Law
Offices of
Andres
Mointejo, Esq     6157 NW 167th Street       Suite F-21       Andres Montejo     Miami            FL     33015
The Law
Offices of Gary
Merenstein, P.C   773 Furrow Way                                                 Lafayette        CO     80026
Trans Union,                                                                                             60693-
LLC               PO Box 99506                                                   Chicago          IL     9506
Vanguard
Cleaning          155 Airport Executive
Systems           Park                                                           Nanuet           NY     10954
Verizon
Wireless          PO Box 408                                                     Newark           NJ     07101
Waller
Landsden
Dortch &
Davis LLP         511 Union Street           Suite 2700       Derek Edwards      Nashville        TN     37219
Webrecon,
LLC.              6115 28th St. SE           Suite 214                           Grand Rapids     MI     49546
Windstream                                                                                               19176-
Enterprise        PO Box 70268                                                   Philadelphia     PA     0268
Worldpay ISO                                                                     Symmes
Inc               8500 Governors Hill Dr     MD 1GH2X2                           Township         OH     45249
                                                              Russell Marc
Yanwitt LLP       140 Grand Street           Suite 705        Yankwitt           White Plains     NY     10601
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                                        Exhibit B

                                   Equity Holders
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                                             Retrieval-Masters Creditors Bureau, Inc.
                                                         Equity Holders

   Name               Address 1            Address 2   Address 3       City       State       Postal Code   Ownership %

Russell Fuchs    975 Banks North Road                                Fairfield     CT           06824          100%
